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9
                                 UNITED STATES DISTRICT COURT
10
                               NORTHERN DISTRICT OF CALIFORNIA
11
                                       SAN FRANCISCO DIVISION
12
13
14   UNITED STATES OF AMERICA,           )             No. CR 05-00395 CRB
                                         )
15         Plaintiff,                    )
                                         )
16         v.                            )
                                         )
17   YOUNG JOON YANG, et al.,            )
                                         )
18         Defendants                    )
     ____________________________________)
19                                       )             No. CR 06-0101 VRW CRB
     UNITED STATES OF AMERICA,           )
20                                       )             STIPULATION AND [PROPOSED]
           Plaintiff,                    )             SUPPLEMENTAL PROTECTIVE ORDER
21                                       )             REGARDING DISCOVERY AS TO
        v.                               )             DEFENDANT HYON CHU YIM
22                                       )
     YON SUK PANG,                       )
23                                       )
           a/k/a Yon S. Pang,            )
24         a/k/a Nana, and               )
     HYON CHU YIM,                       )
25         a/k/a Hyon C. Yim,            )
           a/k/a Tina,                   )
26                                       )
           Defendants.                   )
27                                       )
28      The United States, through its counsel of record, and defendant Hyon Chu Yim, through her

     PROTECTIVE ORDER
     [CR 05-00395 CRB, CR 06-0101 VRW ]
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1    counsel of record, hereby agree and stipulate that the government will provide discovery on the
2    following conditions:
3            1.Protected Material
4            The discovery produced in this matter is deemed Protected Material. Possession of
5    copies of the Protected Material is limited to the defendants, their attorneys of record, and
6    investigators, paralegals, law clerks, translators, interpreters, experts and assistants for the
7    attorneys of record (hereinafter collectively referred to as "members of the defense team").
8            The defendants, their attorneys of record, and members of the defense team acknowledge
9    that providing copies of the Protected Material to other persons is prohibited, and agree not to
10   duplicate or provide copies of the Protected Material to other persons. The defendants, their
11   attorneys of record, and members of the defense team may show Protected Material to witnesses
12   or prospective witnesses in conjunction with their defense of the defendants in this case. The
13   defendants, their attorneys of record, and members of the defense team further acknowledge that
14   they are prohibited from using the Protected Material for any purpose other than defending the
15   defendant in the above-captioned matter. Any violation of these prohibitions constitutes a
16   violation of the Protective Order. Further, the attorneys of record agree that prior to
17   disseminating any copies of the Protected Material to members of the defense team, they will
18   provide a copy of this Protective Order to members of the defense team.
19           Notwithstanding efforts taken by the government to redact personal information of
20   witnesses from the discovery provided to the defense (such as date of birth, social security
21   numbers, addresses, phone numbers, etc.), defense counsel, the defendants and members of the
22   defense team agree that, should any such information be found during their review of this
23   material, they will not provide that personal information in any form – whether in verbal, written
24   or electronic format – to any third party, for any reason whatsoever.
25           2       Nontermination
26           The provisions of this Order shall not terminate at the conclusion of this prosecution but
27   only upon further order of this Court. Within 30 days of a verdict or guilty plea, the defendants’
28   attorneys of record shall return all copies of any Protected Material (including all copies provided

     PROTECTIVE ORDER
     [CR 05-00395 CRB, CR 06-0101 VRW ]
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1    to the defendants, their attorneys of record, and members of the defense team) to the United
2    States Attorney’s Office for the Northern District of California.
3           SO STIPULATED.
4
     DATED: 3/10/06                                _/S/_PETER B. AXELROD__________
5                                                  PETER B. AXELROD
                                                   LAUREL BEELER
6                                                  Assistant United States Attorneys
7
8    DATED: 3/8/06                                   /S/ JOSEPH SULLIVAN
                                                   JOSEPH O’SULLIVAN
9                                                  Counsel for Defendant HYON CHU YIM
10
11                                                ORDER        S DISTRICT
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                                                  IT IS SO ORDERED.       C
12                                                             TA




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                                                          S
     DATED:       March 16, 2006                   _______________________________




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13                                                 CHARLES R. BREYER




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                                                   United States DistrictOJudge
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     PROTECTIVE ORDER
     [CR 05-00395 CRB, CR 06-0101 VRW ]
